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                                       EXHIBIT B
      Date   Amount Received Payee                 Reason                 Account
01/03/2017            336.10 Paypal                Ebay sales             …3697
                      550.52 Chase payment tech    Website / Card Sales   …3697
01/03/2017          2,024.72 Chase payment tech    Website / Card Sales   …3697
01/04/2017              4.47 Amazon                Refund on purchase     …3697
                       70.64 Chase payment tech    Website / Card Sales   …3697
                      971.72 Chase payment tech    Website / Card Sales   …3697
                    3,079.80 SAS GYS               SO: 34484              …3697
01/05/2017            219.62 Paypal                Ebay sales             …3697
                      449.06 Paypal                Ebay sales             …3697
                      454.13 Paypal                Ebay sales             …3697
01/09/2017             14.26 Paypal                Ebay sales             …3697
                      115.45 Paypal                Ebay sales             …3697
                      136.70 Paypal                Ebay sales             …3697
                      193.71 Paypal                Ebay sales             …3697
                      431.39 Paypal                Ebay sales             …3697
                      578.93 Chase payment tech    Website / Card Sales   …3697
                      771.44 Paypal                Ebay sales             …3697
                    1,412.95 Paypal                Ebay sales             …3697
                    2,766.26 amazon                amazon sales           …3697
                    4,003.84 Paypal                Ebay sales             …3697
01/10/2017          2,000.00 Chase payment tech    Website / Card Sales   …3697
01/11/2017            662.94 Chase payment tech    Website / Card Sales   …3697
                      907.66 Chase payment tech    Website / Card Sales   …3697
                    1,374.27 square reader         credit card sales      …3697
                    1,843.52 Chase payment tech    Website / Card Sales   …3697
01/12/2017            381.79 Amazon                amazon sales           …3697
01/17/2017             45.03 Paypal                Ebay sales             …3697
                       48.64 Chase payment tech    Website / Card Sales   …3697
                       55.71 Paypal                Ebay sales             …3697
                      102.75 Chase payment tech    Website / Card Sales   …3697
                    1,850.98 Chase payment tech    Website / Card Sales   …3697
                    2,372.02 Paypal                Ebay sales             …3697
                    3,463.80 Chase payment tech    Website / Card Sales   …3697
01/18/2017            227.43 Chase payment tech    Website / Card Sales   …3697
                      940.87 square reader         credit card sales      …3697
01/19/2017          1,255.69 Chase payment tech    Website / Card Sales   …3697
01/20/2017            442.70 Chase payment tech    Website / Card Sales   …3697
                      489.74 Chase payment tech    Website / Card Sales   …3697
                    1,313.89 Paypal                Ebay sales             …3697
                    1,792.82 square reader         credit card sales      …3697
                    1,794.37 square reader         credit card sales      …3697
                    3,294.00 DDS Engineering       SO: 34551              …3697
01/23/2017             14.40 360 Industrial        Refund on purchase     …3697
                      106.85 square reader         credit card sales      …3697
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                       563.86 Paypal                            Ebay sales                …3697
                  1,226.82 Chase payment tech                   Website / Card Sales      …3697
                  1,351.33 Paypal                               Ebay sales                …3697
                  1,815.52 Amazon                               amazon sales              …3697
                  1,985.02 square reader                        credit card sales         …3697
                  2,167.34 Paypal                               Ebay sales                …3697
01/25/2017             148.46 Chase payment tech                Website / Card Sales      …3697
                       160.00 Chase payment tech                Website / Card Sales      …3697
                       288.75 Chase payment tech                Website / Card Sales      …3697
                       483.19 Chase payment tech                Website / Card Sales      …3697
01/26/2017             321.32 Amazon                            amazon sales              …3697
01/30/2017             104.41 square reader                     credit card sales         …3697
                       186.00 square reader                     credit card sales         …3697
                       432.49 square reader                     credit card sales         …3697
                  1,719.86 Chase payment tech                   Website / Card Sales      …3697
                  1,813.81 square reader                        credit card sales         …3697
                  2,416.01 square reader                        credit card sales         …3697
                  2,829.19 Paypal                               Ebay sales                …3697
                  5,312.42 square reader                        credit card sales         …3697
             $70,693.38                                                                   …3697

     4-Jan     $9.89                       Galaxy Lifts         SO: 33656
              $48.36                   Ascena Retail Group      SO: 32772                 …3719
              $51.05                     All Pro Electrical     SO: 33650, 33639, 33932   …3719
              $59.98                   AAA Food Equipment       SO: 32919                 …3719
              $84.00               Air Performance Service      SO:33933                  …3719
              $155.64               Sequel Electrical Supply    SO: 32503                 …3719
              $180.00              WIN Electric - Mesquite                                …3719
    13-Jan    $200.76                    Discount Electric      SO: 32685, 32872          …3719
              $316.55                       CCL Tube            SO: 32781
              $107.30              WESCO Integrated Supply      SO: 31982
              $30.66             Mechanical Technical Service   SO: 32894
              $439.99                      Daniel Pool
    13-Jan    $642.69                     Lockhardt ISD         SO: 31969                 …3719
              $202.95                      Fox Service          SO: 32703, 32741, 32761
              $71.93                Food Equipment Group        SO: 33000
              $41.56                          Rexel             SO: 32494
              $119.94                     Z-Non Electric
              $171.21                   Sweetwater EC&W         SO: 33009
              $150.00                     Thyssenkrupp          SO:32030
              $175.19                   Galaxy Unlimited
              $715.20                    Bayou Lighting         SO: 32397
    17-Jan   $2,561.42                    Thyssenkrupp          SO: 32574, 32726          …3719
             $1,582.85                   Schmidt Electric       SO: 33643, 34068
             $1,356.00                        Nelok             SO: 33935, 33964
              $771.00                     R&D Molders           SO: 33918
              $149.85                          RSS              SO: 34626
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   24-Jan   $1,030.02    Guadalupe River Authority   SO: 34506                             …3719
             $106.88              Repco              SO: 32316
             $199.99          Lockhardt ISD          SO: 32751
             $19.98       Food Equipment Group       SO: 34473
             $152.13            Elk Electric         SO: 35938, 36023
             $82.04          All Pro Electrical      SO: 34688
            $1,774.04      360 Industrial Supply
             $652.00     The Porter Service Comp.    SO: 27971
             $14.85             Taylor ISD           SO: 36065
             $41.98             Hutto ISD            SO: 36043
            $1,131.00          Widespread            SO: 30072, 75, 78, 97, 30450, 30451
             $188.28          Hanks Service          SO: 36048                             …3719
             $157.50         Wattinger Service       SO: 33919, 33931                      …3719
             $465.96     Central Texas Comm Air      SO: 29314, 29467                      …3719
            $1,970.40          A & B Electric        SO: 34631, 34639                      …3719
            $18,383.02                                                                     …3719


                                $89,076.40
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                  $155.88         The Hartford          Workman's Comp Insurance      …3719
 19-Jan           $620.00        Utica Mutual Inc       Car insurance/Owners Policy   …3719
 20-Jan           $100.00        Endicia Postage        postage                       …3719
                 $1,284.00    360 Industrial Supply     PO:                           …3719
                 $1,338.08             UPS              shipping                      …3719
 23-Jan          $1,288.44         Webfile Tax          Sales Tax                     …3719
 24-Jan           $100.00        Endicia Postage        postage                       …3719
                  $100.00        Endicia Postage        postage                       …3719
 25-Jan            $20.00      1St Phonecard Com        office expense                …3719
                  $725.24    SouthEaster Freight Line   shipping                      …3719
 26-Jan           $100.00        Endicia Postage        postage                       …3719
                 $1,025.74       twc time warner        phone/internet                …3719
                  $309.97      stan the heater man      PO:                           …3719
 27-Jan            $54.81    Red Hawk Fire & Securty    security system               …3719
                  $239.88      stan the heater man      PO:                           …3719
                 $1,028.15             UPS              shipping                      …3719
 30-Jan           $100.00        Endicia Postage        postage                       …3719
 31-Jan           $100.00        Endicia Postage        postage                       …3719
                $34,781.56
 12-Jan          $9,708.00           Payroll            Payroll                       …3700
                  $34.00           Frost Bank           Overdraft fee                 …3700
 17-Jan          $3,753.20             IRS              941 Deposit                   …3700
 25-Jan          $9,838.95           Payroll            Payroll                       …3700
 26-Jan           $148.52              IRS              940 Deposit                   …3700
                  $183.69       Attorney General        Child Support (J. Vasquez)    …3700
 27-Jan          $2,098.70       TX Workforce           TX Unemployment Tax           …3700
                 $3,805.20             IRS              941 Deposit                   …3700
 30-Jan           $183.69       Attorney General        Child Support (J. Vasquez)    …3700
 31-Jan            $7.00           Frost Bank           Service Charge/monthly        …3700
                $29,760.95


   December Total (all 3)          $85,133.36
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Total ALL RIGHT ELECTRIC & SUPPLY                                                                                  359.30
API ALLIANCE
                                                  Invoice      35915     A4634-010917C      Net 30   02/10/2017     81.65
Total API ALLIANCE                                                                                                  81.65
ARCK ELECTRICAL SUPPLY - CUSTOMER
                                                  Invoice      28529     R58607016          Net 30   07/06/2016    255.00
Total ARCK ELECTRICAL SUPPLY - CUSTOMER                                                                            255.00
ATC NUCLEAR WAREHOUSE
                                                  Invoice      36232     N_PO-000000984     Net 30   02/19/2017    349.90
Total ATC NUCLEAR WAREHOUSE                                                                                        349.90
Austin's Town & Country Electric Co., Inc
                                                  Invoice      33475     2900 swisher       Net 30   01/11/2017     75.78
Total Austin's Town & Country Electric Co., Inc                                                                     75.78
AUSTIN ENERGY
                                                  Invoice      555003                       Net 30   07/11/2015     15.00
Total AUSTIN ENERGY                                                                                                 15.00
AUSTIN ENERGY - DECKER POWER PL
                                                  Invoice      29761                        Due      08/15/2016    245.99
Total AUSTIN ENERGY - DECKER POWER PL                                                                              245.99
AUSTIN REFRIGERATION
                                                  Payment                                                            -0.01
                                                  Invoice      29352     sprint             Net 30   08/24/2016     10.81
Total AUSTIN REFRIGERATION                                                                                          10.80
B.T. SERVICES
                                                  Invoice      34564     037879             Net 30   02/02/2017    232.85
                                                  Invoice      36094     037922             Net 30   02/15/2017     39.99
                                                  Invoice      36144     037932             Net 30   02/16/2017    580.00
                                                  Invoice      36162     036883             Net 30   02/16/2017    292.00
Total B.T. SERVICES                                                                                               1,144.84
BERGELETRIC
                                                  Invoice      37152     115173-3023930-133147
                                                                                            Net 30   03/18/2017    968.74
Total BERGELETRIC                                                                                                  968.74
BIG STATE ELECTRIC



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                                        Invoice      557667    46683             Net 30   03/19/2016    365.89
                                        Invoice      31478     47370             Net 30   10/09/2016     43.29
Total BIG STATE ELECTRIC                                                                                409.18
BISHOPS AIR CONTROL
                                        Invoice      556349    DR LISCH          Net 30   11/06/2015    124.00
Total BISHOPS AIR CONTROL                                                                               124.00
BLANCO HEATING & COOLING, INC.
                                        Invoice      557729    38797             Net 30   03/30/2016    237.46
Total BLANCO HEATING & COOLING, INC.                                                                    237.46
Brad Martin
                                        Invoice      28928     108-9910463-8510610CIA     07/05/2016     44.50
Total Brad Martin                                                                                        44.50
BRAZOS RIVER AUTHORITY
                                        Invoice      36581     12998             Net 30   03/16/2017   6,893.40
Total BRAZOS RIVER AUTHORITY                                                                           6,893.40
BREAKER & CONTROL CO. INC_1
                                        Invoice      28664     verbal carlos     Net 30   07/15/2016    611.14
Total BREAKER & CONTROL CO. INC_1                                                                       611.14
BROOK MEADOW VILLAGE
                                        Invoice      556909    221               Net 30   12/30/2015    324.74
                                        Invoice      36218     7560              Net 30   02/24/2017    389.70
Total BROOK MEADOW VILLAGE                                                                              714.44
BROOKEFIELD FABRICATING
                                        Invoice      32899                       CIA      12/05/2016     86.38
Total BROOKEFIELD FABRICATING                                                                            86.38
CARNEY ELECTRICAL CONTRACTORS
                                        Invoice      31494     wells branch      Net 30   10/13/2016     36.75
Total CARNEY ELECTRICAL CONTRACTORS                                                                      36.75
CARRIER COMMERCIAL SVC (AUSTIN)
                                        Invoice      29412                       Net 30   08/27/2016     10.81
Total CARRIER COMMERCIAL SVC (AUSTIN)                                                                    10.81
CBI WHOLESALE ELECTRIC LLC




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                                             Invoice      557938    1011735            CIA      04/06/2016       8.12
Total CBI WHOLESALE ELECTRIC LLC                                                                                 8.12
CCL TUBE
                                             Invoice      36535     144309-000         Net 30   03/02/2017   1,200.00
Total CCL TUBE                                                                                               1,200.00
CED LIGHTING SOLUTIONS
                                             Invoice      557229    6044-AH-912095D    Net 30   02/06/2016    330.64
Total CED LIGHTING SOLUTIONS                                                                                  330.64
Christopher Repass
                                             Invoice      557676    9210               CIA      02/22/2016    216.50
Total Christopher Repass                                                                                      216.50
CINTAS CORPORATION #86
                                             Invoice      557705    A4181686           Net 30   03/26/2016    665.00
Total CINTAS CORPORATION #86                                                                                  665.00
CIRCUIT BREAKER SERVICE NE
                                             Invoice      557680    DF4043-2878        CIA      02/22/2016    139.00
                                             Invoice      31951     NC5056-4161        Net 30   10/30/2016    398.00
Total CIRCUIT BREAKER SERVICE NE                                                                              537.00
CITY ELECTRIC SUPPLY - MARBLE FALLS
                                             Invoice      557662    MBF/014728         Net 30   03/18/2016       9.36
                                             Invoice      557671    MBF/014728         Net 30   03/20/2016    391.26
                                             Invoice      27705     mbf/015053         Net 30   05/27/2016    108.00
                                             Invoice      29350     MBF/015527         Net 30   08/24/2016     60.00
Total CITY ELECTRIC SUPPLY - MARBLE FALLS                                                                     568.62
CITY ELECTRIC SUPPLY - MURFREESBORO
                                             Invoice      28917     MUR/027153         Net 30   07/31/2016     26.52
                                             Invoice      30018                        Net 30   09/03/2016   1,399.50
Total CITY ELECTRIC SUPPLY - MURFREESBORO                                                                    1,426.02
CITY OF AUSTIN AVIATION DEPT.
                                             Invoice      33611     8100 16121500910-1 Net 30   01/14/2017    550.00
Total CITY OF AUSTIN AVIATION DEPT.                                                                           550.00
CLIMATE SOLUTIONS, LLC
                                             Invoice      556936    RIVERBEND          Net 30   01/02/2016     24.98



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Total CLIMATE SOLUTIONS, LLC                                                                                       24.98
COMMERCIAL METALS COMPANY
                                                 Invoice      557720    9900457747         Net 30   03/27/2016     13.34
                                                 Invoice      557813    9900461055         Net 30   04/13/2016   1,082.50
Total COMMERCIAL METALS COMPANY                                                                                  1,095.84
CONQUEST CONTRACTING
                                                 Invoice      29278                        Due      08/15/2016     95.53
Total CONQUEST CONTRACTING                                                                                         95.53
COOL SERVICES INC
                                                 Invoice      554488    18800              Net 30   05/23/2015     27.00
                                                 Invoice      554502    18807              Net 30   05/23/2015       9.90
                                                 Invoice      554629    18922              Net 30   06/05/2015     59.99
                                                 Invoice      554754    19064              Net 30   06/18/2015     11.19
                                                 Invoice      554923    192347             Net 30   07/02/2015     59.97
                                                 Invoice      555168    19317              Net 30   07/23/2015     59.92
                                                 Invoice      28194     23704              Net 30   06/16/2016     90.00
Total COOL SERVICES INC                                                                                           317.97
DAN LUCKOW ELECRTIC, INC.
                                                 Invoice      556286    115683             Net 30   10/31/2015    286.51
Total DAN LUCKOW ELECRTIC, INC.                                                                                   286.51
Danny Brewer
                                                 Invoice      557914                       CIA      03/31/2016     18.00
Total Danny Brewer                                                                                                 18.00
David Schaefer
                                                 Invoice      557635                       CIA      02/12/2016    199.42
                                                 Invoice      557636                       CIA      02/12/2016     89.97
Total David Schaefer                                                                                              289.39
DIAL ONE, INC. (CHARLIE MORRIS ELECTRIC)
                                                 Invoice      557838    12771              Net 30   04/15/2016    425.00
Total DIAL ONE, INC. (CHARLIE MORRIS ELECTRIC)                                                                    425.00
discount electric
                                                 Invoice      34488     2663               Net 30   01/27/2017    135.00
                                                 Invoice      36060     2744               Net 30   02/12/2017    380.00



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                                             Invoice      36588     2855               Net 30   03/10/2017    143.00
                                             Invoice      37007     2917               Net 30   03/16/2017    260.00
                                             Invoice      37091     2928               Net 30   03/17/2017     66.00
Total discount electric                                                                                       984.00
DUNMAN ELECTRIC
                                             Invoice      557679    164020             Net 30   03/23/2016    113.66
                                             Invoice      27693     150692             Net 30   05/26/2016     17.31
                                             Invoice      28709     165287             Net 30   07/20/2016     86.59
                                             Invoice      29050     163275             Net 30   08/10/2016    876.81
                                             Invoice      32733     161542             Net 30   12/28/2016     81.18
                                             Invoice      32736     177428             Net 30   12/28/2016     12.99
Total DUNMAN ELECTRIC                                                                                        1,188.54
DYNAMIC SYSTEMS INC.
                                             Invoice      28485     s28850-1405        Net 30   07/03/2016     50.00
                                             Invoice      28725     s30806-7783-150    Net 30   07/21/2016    769.98
                                             Invoice      28831     s30811-3710        Net 30   07/30/2016     75.00
                                             Invoice      36563     S32858-1974        Net 30   03/03/2017     85.00
Total DYNAMIC SYSTEMS INC.                                                                                    979.98
ECP SALES
                                             Invoice      556603    216111             Net 30   11/28/2015     23.97
Total ECP SALES                                                                                                23.97
electrical concepts inc.
                                             Invoice      35609                        CIA      01/11/2017     82.06
Total electrical concepts inc.                                                                                 82.06
ELECTRICONNECTION
                                             Invoice      28490     6683               Net 30   07/03/2016    298.00
Total ELECTRICONNECTION                                                                                       298.00
ELGIN ISD
                                             Invoice      557135    VERBAL             Net 30   01/21/2016     17.22
Total ELGIN ISD                                                                                                17.22
ELK ELECTRIC INC.
                                             Invoice      30194     610437             Net 30   09/11/2016    260.00
                                             Invoice      32700     615719             Net 30   12/22/2016    390.00



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Total ELK ELECTRIC INC.                                                                                        650.00
FALCON PLUMBING AND CONSTRUCTIO
                                              Invoice      30323                        Net 30   09/30/2016     97.41
Total FALCON PLUMBING AND CONSTRUCTIO                                                                           97.41
FAUGHT SERVICE CO. INC.
                                              Invoice      30241     sanders            Net 30   09/15/2016     21.64
Total FAUGHT SERVICE CO. INC.                                                                                   21.64
FEATHERLITE
                                              Invoice      554773    204                Net 30   06/19/2015     66.31
                                              Invoice      554815    204                Net 30   06/20/2015       7.57
Total FEATHERLITE                                                                                               73.88
FEATHERLITE - ROUND ROCK
                                              Invoice      31624     783956             Due      10/15/2016    316.00
                                              Invoice      36223     JERRY              Due      02/15/2017     79.99
Total FEATHERLITE - ROUND ROCK                                                                                 395.99
FOX SERVICE COMPANY II, LLC
                                              Invoice      34588     212935             Net 30   02/03/2017    360.00
                                              Invoice      34602     212955             Net 30   02/03/2017    184.99
                                              Invoice      35563     213326             Net 30   02/10/2017     79.96
                                              Invoice      35981     213514             Net 30   02/11/2017     19.98
                                              Invoice      36166     213761             Net 30   02/16/2017     45.00
                                              Invoice      36279     214021             Net 30   02/22/2017    107.94
                                              Invoice      36707     214974             Net 30   03/09/2017    275.00
Total FOX SERVICE COMPANY II, LLC                                                                             1,072.87
FSG LIGHTING-FACILITY SOLUTIONS GROUP
                                              Invoice      557904    824718-00          Net 30   04/30/2016    135.00
                                              Invoice      31596     852407-00          Net 30   10/16/2016     89.97
Total FSG LIGHTING-FACILITY SOLUTIONS GROUP                                                                    224.97
GAFFNEY-KROESE SUPPLY CORP
                                              Invoice      30051     PO-394869          Net 30   09/07/2016    750.00
Total GAFFNEY-KROESE SUPPLY CORP                                                                               750.00
Galaxy lifts
                                              Payment      3767                                                 -92.66



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                                         Invoice       32441     verbal shane     Net 30    11/24/2016     10.10
                                         Invoice       36935                      Net 30    03/11/2017    193.63
Total Galaxy lifts                                                                                        111.07
GCBS INC
                                         Invoice       29919                      CIA       08/02/2016    620.00
                                         Invoice       30029     VERBAL LINDA     Net 30    09/04/2016    185.00
Total GCBS INC                                                                                            805.00
GEXPRO - DAVENPORT
                                         Invoice       557989    P101168162       CIA       04/12/2016     49.99
                                         Invoice       28374     S113973164       Net 30    06/24/2016     82.65
Total GEXPRO - DAVENPORT                                                                                  132.64
GLOBE ELECTRIC SUPPLY CO
                                         Invoice       30090     3079             Net 30    09/09/2016     74.97
Total GLOBE ELECTRIC SUPPLY CO                                                                             74.97
GOODWILL INDUSTRIES
                                         Invoice       557699    1415             Net 30    03/25/2016     69.99
                                         Invoice       557700    1415             Net 30    03/25/2016    247.00
                                         Credit Memo   557703    1415             Net 30    03/25/2016     -69.99
Total GOODWILL INDUSTRIES                                                                                 247.00
GRAYBAR ELECTRIC
                                         Invoice       555066    4513653726       Net 30    07/15/2015    298.09
Total GRAYBAR ELECTRIC                                                                                    298.09
Gregory Dodd
                                         Invoice       28578     9400             CIA       06/09/2016    199.99
Total Gregory Dodd                                                                                        199.99
GRIPOS
                                         Invoice       30191     PO27187          Net 30    09/11/2016    161.17
                                         Invoice       35952     PO28182          Net 30    02/11/2017    499.50
Total GRIPOS                                                                                              660.67
GUADALUPE BLANCO RIVER AUTHORITY
                                         Invoice       35301                      Net 30    02/10/2017     48.00
                                         Invoice       36369     032              Net 30    02/23/2017    774.44
Total GUADALUPE BLANCO RIVER AUTHORITY                                                                    822.44



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GUARDIAN INDUSTRIAL SUPPLY
                                         Invoice      554081    per christina      Net 30   04/23/2015    147.03
                                         Invoice      557660    028305A            Net 30   03/18/2016     53.40
                                         Invoice      557665    028323a            Net 30   03/19/2016     64.22
                                         Invoice      557668    028342A            Net 30   03/19/2016    384.00
                                         Invoice      557795    020664             Net 30   04/09/2016     56.00
                                         Invoice      557829    029016A            Net 30   04/16/2016    240.00
                                         Invoice      557850    029096A            Net 30   04/21/2016   2,595.00
                                         Invoice      557854    020678             Net 30   04/21/2016    130.00
                                         Invoice      27735     020757             Net 30   05/28/2016    269.90
                                         Invoice      27768     020758             Net 30   05/28/2016    269.90
                                         Invoice      28079     030494a            Net 30   06/12/2016     52.00
                                         Invoice      28462     030873A            Net 30   07/01/2016     59.80
                                         Invoice      28704     031223A            Net 30   07/17/2016    245.50
                                         Invoice      28706     031223A            Net 30   07/17/2016     18.30
                                         Invoice      28722     031376A            Net 30   07/20/2016    128.00
                                         Invoice      28759     031462a            Net 30   07/23/2016   1,008.00
                                         Invoice      32377     034365A            Net 30   11/16/2016     25.33
                                         Invoice      32542                        Net 30   12/03/2016     75.00
                                         Invoice      36951     021264             Net 30   03/12/2017     15.00
                                         Invoice      37137     037036A            Net 30   03/17/2017    125.60
Total GUARDIAN INDUSTRIAL SUPPLY                                                                         5,961.98
GULF COAST BREAKERS AND STARTERS
                                         Invoice      556284    310233             Net 30   10/30/2015    530.00
                                         Invoice      556807    4536-03-1115       Net 30   12/19/2015   1,700.00
                                         Invoice      556946    4536-01-1215       Net 30   01/03/2016    230.00
                                         Invoice      556985                       Net 30   01/07/2016    230.00
                                         Invoice      557049    4536-02-1215       Net 30   01/10/2016     30.00
                                         Invoice      32637     310274             Net 30   12/15/2016     53.98
Total GULF COAST BREAKERS AND STARTERS                                                                   2,773.98
GULF ELECTRICAL WHOLESALE
                                         Invoice      28370     41083              Net 30   06/23/2016    173.55
Total GULF ELECTRICAL WHOLESALE                                                                           173.55



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HANK'S SERVICE INC.
                                        Invoice       557628    randy truck stock     Net 30   03/13/2016     38.97
                                        Invoice       30084     rbts                  Net 30   09/09/2016    345.14
                                        Invoice       36434     RANDY TRUCK STOCK
                                                                                Net 30         02/26/2017    173.11
Total HANK'S SERVICE INC.                                                                                    557.22
HIDALGO
                                        Invoice       554287    57041026-3            Net 30   05/09/2015      2.15
                                        Invoice       554636    57051021-3            Net 30   06/06/2015    299.99
                                        Invoice       554746    57043048-3            Net 30   06/17/2015     82.50
                                        Invoice       555069    570611042-3           Net 30   07/16/2015     31.08
                                        Invoice       555100    57061048-3            Net 30   07/19/2015     19.98
                                        Invoice       555797    57083067-3            Net 30   09/16/2015    252.15
                                        Invoice       555803    57083067-3            Net 30   09/17/2015     63.87
                                        Invoice       556090    57093036-3            Net 30   10/10/2015     94.13
                                        Invoice       556149    570903036-3           Net 30   10/18/2015     11.38
                                        Invoice       556663    57111009-3            Net 30   12/03/2015     18.00
Total HIDALGO                                                                                                875.23
HINES POOL AND SPA
                                        Invoice       33956     4853                  Net 30   01/19/2017     75.00
Total HINES POOL AND SPA                                                                                      75.00
HOIST LIFTRUCK MFG INC
                                        Invoice       557328    343765                Net 30   02/13/2016    281.45
                                        Invoice       31885     359712                Net 30   10/27/2016    250.00
Total HOIST LIFTRUCK MFG INC                                                                                 531.45
HUSSMANN HOUSTON BRANCH
                                        Invoice       29362     4378920               Due      08/15/2016     64.93
                                        Invoice       29991     4379735               Net 30   09/02/2016    200.26
Total HUSSMANN HOUSTON BRANCH                                                                                265.19
HUTTO INDEPENDENT SCHOOL DISTRICT
                                        Invoice       557688    9001516025            Net 30   03/24/2016    208.00
                                        Invoice       557765    90011516025           Net 30   04/03/2016    112.47
                                        Credit Memo   557806    farley pump station   Net 30   04/03/2016     -99.99
                                        Invoice       35293     9001617003            Net 30   02/10/2017     29.99



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Total HUTTO INDEPENDENT SCHOOL DISTRICT                                                                        250.47
INDUSTRIAL CONTROL & SUPPLY customer
                                             Invoice      554910    F75013             Net 30   07/01/2015      10.78
                                             Invoice      555139    F75449             Net 30   07/22/2015     545.43
                                             Invoice      555178    f75481             Net 30   07/23/2015     271.45
                                             Invoice      557940                       Net 30   05/06/2016      75.00
                                             Invoice      28107                        Net 30   06/15/2016      40.00
Total INDUSTRIAL CONTROL & SUPPLY customer                                                                     942.66
INDUSTRIAL OVER SUPPLY, LLC
                                             Invoice      557465    ROLANDO PAYROLL Net 30      02/27/2016     188.87
                                             Invoice      32478     TAMAS              Net 30   12/01/2016    1,332.20
                                             Invoice      35833                        Net 30   02/10/2017      29.60
                                             Invoice      36287                        Net 30   02/22/2017   11,800.00
                                             Invoice      36883                        Net 30   03/10/2017     984.73
                                             Invoice      37196                        Net 30   03/18/2017     314.82
Total INDUSTRIAL OVER SUPPLY, LLC                                                                            14,650.22
INNOVATIVE WATER SOLUTIONS
                                             Invoice      36458     SHOP               Net 30   02/26/2017     363.87
Total INNOVATIVE WATER SOLUTIONS                                                                               363.87
INTEGRITY MECHANICAL
                                             Invoice      557653                       Due      03/15/2016     100.35
Total INTEGRITY MECHANICAL                                                                                     100.35
Jason Jones 2
                                             Invoice      557658    9202               CIA      02/17/2016      82.78
Total Jason Jones 2                                                                                             82.78
JH MECHANICAL
                                             Invoice      29246     THE SHORE CONDO'S
                                                                                    Net 30      08/18/2016     140.73
Total JH MECHANICAL                                                                                            140.73
Jim St.Laurent
                                             Invoice      30024                        CIA      08/04/2016      12.98
Total Jim St.Laurent                                                                                            12.98
John Daniels 1
                                             Invoice      557686    114-9027085-1186637CIA      02/22/2016     115.48




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Total John Daniels 1                                                                                      115.48
JOHNSON CONTROLS - DALLAS
                                          Invoice      32632     1-42426816896     Due      11/15/2016     29.99
                                          Invoice      32707     1-42594468353     Due      12/15/2016     29.99
Total JOHNSON CONTROLS - DALLAS                                                                            59.98
Joseph Schwartz
                                          Invoice      557544    9175              CIA      02/04/2016    111.19
Total Joseph Schwartz                                                                                     111.19
JT REPAIR, INC
                                          Invoice      31524     8323              Net 30   10/13/2016     48.00
Total JT REPAIR, INC                                                                                       48.00
ken judd
                                          Invoice      557930    9281              CIA      04/04/2016    106.74
Total ken judd                                                                                            106.74
KIRBY RISK ELECTRICAL SUPPLY
                                          Invoice      36936     S109113172        Net 30   03/11/2017    256.43
Total KIRBY RISK ELECTRICAL SUPPLY                                                                        256.43
KLOCK ELECTRIC
                                          Invoice      30325     RUNDBERG LANE     Net 30   09/22/2016     37.88
Total KLOCK ELECTRIC                                                                                       37.88
KONE INC. (AUSTIN)
                                          Invoice      555076                      Net 30   07/16/2015    138.32
Total KONE INC. (AUSTIN)                                                                                  138.32
Kyle Meyer
                                          Invoice      557655    9200              CIA      02/17/2016    517.71
Total Kyle Meyer                                                                                          517.71
LA ELECTRICAL, INC.
                                          Invoice      557631                      CIA      02/12/2016    118.03
Total LA ELECTRICAL, INC.                                                                                 118.03
LANCO CONTACTS - DENTON
                                          Invoice      556665    10903             Net 30   12/03/2015    148.00
                                          Invoice      557200    10971             Net 30   02/04/2016    429.00
                                          Invoice      557738    11038             Net 30   03/31/2016    980.00



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                                          Invoice       557802    11051             Net 30   04/10/2016      90.00
                                          Invoice       27651     11095             Net 30   05/26/2016   2,388.00
                                          Invoice       27656     11095             Net 30   05/26/2016     980.00
                                          Credit Memo   27655     11095             Net 30   05/26/2016   -2,388.00
                                          Invoice       27928     11102             Net 30   06/04/2016     735.00
                                          Invoice       29354     11220             Net 30   08/25/2016   3,218.00
                                          Invoice       30502     11254             Net 30   10/01/2016     625.00
                                          Invoice       31257     11256             Net 30   10/07/2016   1,200.00
                                          Invoice       31583     11266             Net 30   10/16/2016     625.00
                                          Invoice       32443     11305             Net 30   11/23/2016      45.00
Total LANCO CONTACTS - DENTON                                                                             9,075.00
LAUREN CONCRETE
                                          Invoice       34630     LLANO PLANT #19   Net 30   02/03/2017      43.27
                                          Invoice       36382     PLANT 9- FRANCISCONet 30   02/24/2017     344.24
                                          Invoice       36557     joe plant 19      Net 30   03/03/2017      54.07
Total LAUREN CONCRETE                                                                                       441.58
LOCKHART ISD
                                          Invoice       32958     9360010581        Net 30   01/11/2017     102.36
Total LOCKHART ISD                                                                                          102.36
MAG-TROL WEST - CHINO
                                          Invoice       31531     W161895C          Net 30   10/13/2016     150.00
Total MAG-TROL WEST - CHINO                                                                                 150.00
Mark Zakrzewski
                                          Invoice       30030     103-4720636-2084245CIA     08/08/2016      24.50
Total Mark Zakrzewski                                                                                        24.50
MECHANICAL TECHNICAL SERVICE
                                          Invoice       557399    N14064001         Net 30   02/19/2016     189.00
                                          Invoice       557902    n13671101         Net 30   04/30/2016      50.00
                                          Invoice       29471     N14611706         Net 30   08/28/2016      57.99
                                          Invoice       32930     n15002402         Net 30   01/05/2017      75.30
                                          Invoice       33620     20008102          Net 30   01/14/2017      71.99
Total MECHANICAL TECHNICAL SERVICE                                                                          444.28
MERIT ELECTRIC



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                                            Invoice           34096      16-60-1068         Net 30   01/26/2017     43.29
Total MERIT ELECTRIC                                                                                                43.29
MIAMI BREAKER INC._1
                                            Invoice           27892      P1011326           Net 30   06/02/2016    540.00
Total MIAMI BREAKER INC._1                                                                                         540.00
michael tabar
                                            Invoice           36366      012517 MT          Net 30   02/25/2017   1,499.70
Total michael tabar                                                                                               1,499.70
Michael Varnadore
                                            Invoice           557611     9188               CIA      02/10/2016    191.25
Total Michael Varnadore                                                                                            191.25
MICRO WATER JET
                                            General Journal   brm-1253                                             900.00
Total MICRO WATER JET                                                                                              900.00
MYRON NOWARD
                                            Invoice           28540      9390               CIA      06/07/2016     30.00
Total MYRON NOWARD                                                                                                  30.00
NELOK INC.
                                            Credit Memo       557956                        Net 30   04/30/2016    -298.00
                                            Invoice           29006      212125-01          Net 30   08/07/2016    922.00
                                            Credit Memo       29042      212125-01          Net 30   08/10/2016    -900.00
                                            Invoice           36748      216541             Net 30   03/09/2017    270.00
                                            Invoice           37135      216841             Net 30   03/17/2017   1,199.00
Total NELOK INC.                                                                                                  1,193.00
NEXANS CANADA INC.
                                            Invoice           26388      4500886497         Net 30   06/08/2016    419.36
Total NEXANS CANADA INC.                                                                                           419.36
NOEL-SMYSER
                                            Invoice           555974     035120-00          Net 30   09/30/2015    179.98
Total NOEL-SMYSER                                                                                                  179.98
NORFOXX REFRIGERATION, INC.
                                            Invoice           557138     52303              Net 30   01/21/2016     72.00
                                            Invoice           557407     52912              Net 30   02/20/2016     67.92



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                                        Invoice      557870    54590AW            Net 30   04/28/2016     29.99
                                        Invoice      557897    47277AW            Net 30   04/30/2016     56.00
Total NORFOXX REFRIGERATION, INC.                                                                        225.91
OMP MECHTRON LLC
                                        Invoice      554433    703964             Net 30   05/20/2015    313.72
Total OMP MECHTRON LLC                                                                                   313.72
ONESIMO CASTELLANOS
                                        Invoice      31456                        CIA      09/08/2016   1,172.35
Total ONESIMO CASTELLANOS                                                                               1,172.35
P&H EQUIPMENT, INC.
                                        Invoice      28343     38382              Net 30   06/22/2016    164.56
                                        Invoice      28768     38525              Net 30   07/24/2016     36.00
                                        Invoice      29177     38606              Net 30   08/13/2016     39.99
Total P&H EQUIPMENT, INC.                                                                                240.55
PATS 1224 ELECTRIC SUPPLY
                                        Invoice      36745     1253B              Net 30   03/10/2017    102.31
Total PATS 1224 ELECTRIC SUPPLY                                                                          102.31
PATSY MILAM
                                        Invoice      557684    9211               CIA      02/22/2016     69.22
Total PATSY MILAM                                                                                         69.22
Phoenix Dynamometer Systems LLC
                                        Invoice      557405    1727               CIA      01/21/2016    174.25
Total Phoenix Dynamometer Systems LLC                                                                    174.25
PM INDUSTRIES INC
                                        Invoice      29075     50284              CIA      05/23/2016     89.99
Total PM INDUSTRIES INC                                                                                   89.99
POWER BREAKER LLC
                                        Invoice      554642    RM77306D           Net 30   06/06/2015     25.98
Total POWER BREAKER LLC                                                                                   25.98
PURE CASTINGS
                                        Invoice      32426     824-002            Net 30   11/23/2016     29.99
Total PURE CASTINGS                                                                                       29.99
R & D MOLDERS INC.



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                                           Invoice      557534    25220             Net 30   03/04/2016     45.00
Total R & D MOLDERS INC.                                                                                    45.00
R B ELECTRIC LLC
                                           Invoice      553800    NORTH LAMAR       Net 30   04/02/2015    112.48
                                           Invoice      553964    NORTH LAMAR       Net 30   04/15/2015     30.29
Total R B ELECTRIC LLC                                                                                     142.77
R M MECHANICAL INC.
                                           Invoice      553326    32028             Net 30   02/27/2015    175.00
Total R M MECHANICAL INC.                                                                                  175.00
RADWELL INTERNATIONAL, INC.
                                           Invoice      555179    po10210041        Net 30   07/23/2015    129.99
                                           Invoice      30011     PO10267205        Net 30   09/03/2016    179.98
Total RADWELL INTERNATIONAL, INC.                                                                          309.97
REINFORCING STEEL SUPPLY
                                           Invoice      554751    circle bender     Net 30   06/17/2015     29.99
                                           Invoice      557978    NEW SHEAR         Net 30   05/08/2016      0.03
                                           Invoice      35297     M11RADBENDER      Net 30   02/10/2017     50.83
                                           Invoice      36683     fab4              Net 30   03/09/2017     19.98
Total REINFORCING STEEL SUPPLY                                                                             100.83
RELECTRIC SUPPLY CO
                                           Invoice      556123    PO161774          Net 30   10/15/2015     35.00
Total RELECTRIC SUPPLY CO                                                                                   35.00
REPCO,INC.
                                           Invoice      556082    rp42931           Net 30   10/09/2015     89.00
                                           Invoice      556093    RP42940           Net 30   10/11/2015     91.86
                                           Invoice      556751    rp43163           Net 30   12/11/2015    130.08
                                           Invoice      557411    rp43367           Net 30   02/20/2016    140.72
                                           Invoice      557832    RP43423           Net 30   04/16/2016    122.48
                                           Invoice      557833    RP43459           Net 30   04/16/2016    109.26
                                           Invoice      557907    RP42638           Net 30   04/30/2016     92.01
                                           Invoice      32530     RP44339           Net 30   12/01/2016     43.36
                                           Invoice      36523     RP44593           Net 30   03/02/2017    213.76
                                           Invoice      36932     rp44623           Net 30   03/11/2017     70.36



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                                            Invoice       37010                        Net 30   03/15/2017     86.72
                                            Invoice       37140     RP44646            Net 30   03/17/2017     36.42
Total REPCO,INC.                                                                                             1,226.03
RESA POWER SOLUTIONS
                                            Invoice       36096     PO183623           Net 30   02/15/2017    159.96
Total RESA POWER SOLUTIONS                                                                                    159.96
REXEL SUMMERS ELECTRIC (MIDLAND)
                                            Invoice       555044    S111012333         Net 30   07/15/2015     68.00
                                            Invoice       555193                       Net 30   07/24/2015    982.37
Total REXEL SUMMERS ELECTRIC (MIDLAND)                                                                       1,050.37
REYNOLDS COMPANY (FT.WORTH)
                                            Invoice       553516                       Net 30   03/11/2015    156.75
Total REYNOLDS COMPANY (FT.WORTH)                                                                             156.75
Richard Saykosky
                                            Invoice       28931     103-8575740-2658669CIA      07/05/2016     44.50
Total Richard Saykosky                                                                                         44.50
RIVER CITY MANUFACTURING
                                            Invoice       554822    bob erickson       Net 30   06/20/2015     12.96
                                            Invoice       557799    bob erickson       Net 30   04/10/2016     59.99
                                            Invoice       36391     BOB ERICKSON       Net 30   02/24/2017    108.24
                                            Invoice       36416     bob erickson       Net 30   02/25/2017    108.24
Total RIVER CITY MANUFACTURING                                                                                289.43
ROGERS MACHINERY COMPANY, INC.(CENTRALIA)
                                            Invoice       32504     15130776           CIA      10/31/2016     48.99
Total ROGERS MACHINERY COMPANY, INC.(CENTRALIA)                                                                48.99
SENOX CORPORATION
                                            Credit Memo   555322                       Net 30   08/06/2015    -170.47
                                            Invoice       556765    PO011927           Net 30   12/13/2015    144.65
                                            Invoice       557238    012346             Net 30   02/07/2016    145.02
                                            Credit Memo   557247                       Net 30   02/07/2016    -246.79
                                            Invoice       27802     PO013326           Net 30   05/29/2016    163.06
                                            Invoice       29372     PO014100           Net 30   08/25/2016    759.78
Total SENOX CORPORATION                                                                                       795.25



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SEQUEL ELECTRICAL SUPPLY
                                         Invoice       36426     P1149650           Net 30   02/25/2017    206.50
Total SEQUEL ELECTRICAL SUPPLY                                                                             206.50
SERVO MOTORS AND DRIVES
                                         Invoice       556180    51843              Net 30   10/21/2015     87.68
                                         Invoice       28216     53410              Net 30   06/18/2016     35.00
                                         Invoice       31253     54009              Net 30   10/06/2016     50.00
Total SERVO MOTORS AND DRIVES                                                                              172.68
SHEALY ELECTRICAL WHOLESALERS_1
                                         Invoice       557157    2355529-00         CIA      12/28/2015    116.00
Total SHEALY ELECTRICAL WHOLESALERS_1                                                                      116.00
SOUTHERN CONTROLS
                                         Invoice       556493    8103008-00         Net 30   11/21/2015     69.99
                                         Invoice       557652    8107895-00         Net 30   03/17/2016   1,039.84
                                         Invoice       29383     8114981-00         Net 30   08/25/2016    489.93
Total SOUTHERN CONTROLS                                                                                   1,599.76
SOUTHERN ELECTRICAL RESOU
                                         Invoice       557427    4535               Net 30   02/24/2016     55.00
Total SOUTHERN ELECTRICAL RESOU                                                                             55.00
SOUTHWESTERN ELECTRIC SUP
                                         Invoice       28833                        Net 30   07/30/2016     37.79
                                         Invoice       29236     2069943            Net 30   08/18/2016     20.00
Total SOUTHWESTERN ELECTRIC SUP                                                                             57.79
SPIKE ELECTRIC
                                         Invoice       554409    20557              Net 30   05/16/2015    852.00
                                         Invoice       555670    20182              Net 30   09/04/2015     19.99
                                         Invoice       555671    201802             Net 30   09/04/2015     31.99
                                         Invoice       556410    202508             Net 30   11/14/2015    215.54
                                         Credit Memo   557958                       Net 30   04/30/2016     -10.00
Total SPIKE ELECTRIC                                                                                      1,109.52
SPRINGHILL SUITES
                                         Payment                                                             -1.03
Total SPRINGHILL SUITES                                                                                      -1.03



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STERLING SALES, INC.
                                         Invoice      557120    1841               Net 30   01/17/2016     79.96
                                         Invoice      557776    1854               Net 30   04/06/2016     87.96
                                         Invoice      28075     1879               Net 30   06/11/2016     99.95
                                         Invoice      31532     1923               Net 30   10/13/2016    147.36
Total STERLING SALES, INC.                                                                                415.23
Steve Perry
                                         Invoice      557714    9217               CIA      02/25/2016    118.00
Total Steve Perry                                                                                         118.00
TD INDUSTRIES - ROUND ROCK
                                         Invoice      558012    xa34100241         Net 30   05/20/2016     69.99
Total TD INDUSTRIES - ROUND ROCK                                                                           69.99
TEJAS ELEVATOR CO
                                         Invoice      557691    std216             Net 30   03/25/2016    217.96
                                         Invoice      36735     COB217             Net 30   03/09/2017    159.98
Total TEJAS ELEVATOR CO                                                                                   377.94
TERRANCE WILLRICH
                                         Invoice      557663    9203               CIA      02/18/2016     45.17
                                         Invoice      31775     9593               CIA      09/27/2016    118.90
                                         Invoice      31775-1   9593               CIA      09/27/2016     49.99
Total TERRANCE WILLRICH                                                                                   214.06
TERRY GIBBS
                                         Invoice      30338                        CIA      08/31/2016    113.19
Total TERRY GIBBS                                                                                         113.19
TEXAS AIR SYSTEMS
                                         Invoice      556382    15-01150           Net 30   11/12/2015     44.98
                                         Invoice      557166    15-05786           Net 30   01/28/2016    212.98
                                         Invoice      557192    truck stock        Net 30   02/03/2016    181.14
                                         Invoice      558007    50000-300-300      Net 30   05/19/2016    119.88
                                         Invoice      28365     15-05529           Net 30   06/23/2016     13.00
                                         Invoice      36522     16-03067           Net 30   03/02/2017     12.78
                                         Invoice      36689     1700704            Net 30   03/09/2017     59.98
                                         Invoice      36937     17-00427           Net 30   03/12/2017    256.50



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Total TEXAS AIR SYSTEMS                                                                                     901.24
TEXAS QUARRIES
                                           Invoice      554914    221              Net 30     07/01/2015    530.43
                                           Invoice      554920    221              Net 30     07/02/2015     12.99
                                           Invoice      555075    246              Net 30     07/16/2015     16.23
Total TEXAS QUARRIES                                                                                        559.65
The Brandt Companies, LLC
                                           Invoice      556114    AUS15-1697       Net 30     10/14/2015    212.00
                                           Invoice      28763     AUS-16-1870      Net 30     07/23/2016     34.00
                                           Invoice      36427     16-00527-121     Net 30     03/16/2017   3,984.36
                                           Invoice      36427-1   16-00527-121     Net 30     03/16/2017    156.00
Total The Brandt Companies, LLC                                                                            4,386.36
THE MOTOR CONTROL CENTER, LLC
                                           Invoice      557661    VERBAL TOM       Net 30     03/18/2016     45.00
Total THE MOTOR CONTROL CENTER, LLC                                                                          45.00
THE PORTER CO
                                           Invoice      554392    25802-5229       Net 30     05/15/2015    638.40
                                           Invoice      556072    5842             Net 30     10/08/2015    164.32
                                           Invoice      557974    6968             Net 30     05/07/2016     28.38
                                           Invoice      28103     7171             Net 30     06/15/2016    561.00
                                           Invoice      29876     7567             Net 30     09/01/2016    326.00
Total THE PORTER CO                                                                                        1,718.10
THE REYNOLDS COMPANY.
                                           Invoice      553759    2034488-00       Net 30     04/02/2015    309.88
                                           Invoice      555352    3081312          Net 30     08/12/2015     79.98
                                           Invoice      556452    3083062-00       Net 30     11/19/2015    517.00
                                           Invoice      556631    2034791-00       Net 30     12/02/2015    135.00
                                           Invoice      557760    3543058          Due        03/15/2016     38.92
                                           Invoice      31947     2035245          Net 30     10/30/2016    268.56
Total THE REYNOLDS COMPANY.                                                                                1,349.34
Thomas Barringer
                                           Invoice      557712    9216             CIA        02/25/2016    108.23
Total Thomas Barringer                                                                                      108.23



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Thomas Tanguay
                                            Invoice       31480                      CIA       09/09/2016    498.46
Total Thomas Tanguay                                                                                         498.46
THYSSEN KRUPP (AUSTIN, TX)
                                            Invoice       557651                     CIA       02/16/2016    108.24
                                            Credit Memo   557674                     CIA       02/17/2016    -108.24
                                            Invoice       557654    1742963          Net 30    03/18/2016     99.99
                                            Invoice       557670    1745841,0        Net 30    03/20/2016    149.99
                                            Invoice       36151     1987865          Net 30    02/16/2017    150.00
                                            Invoice       36201     1991370, 0       Net 30    02/18/2017    490.00
                                            Invoice       36255     1992819          Net 30    02/22/2017   1,013.92
                                            Invoice       36685     2004835          Net 30    03/09/2017    404.21
Total THYSSEN KRUPP (AUSTIN, TX)                                                                            2,308.11
THYSSEN KRUPP ELEVATOR - SCARBOROUGH CAN
                                            Invoice       557701    564692-1         Net 30    03/25/2016    150.00
                                            Invoice       28204     572680-1         Net 30    06/18/2016    150.00
Total THYSSEN KRUPP ELEVATOR - SCARBOROUGH CAN                                                               300.00
tony Lamb
                                            Invoice       557695    8131             CIA       02/24/2016       6.79
Total tony Lamb                                                                                                 6.79
TRAVIS COUNTY WCID # 17
                                            Invoice       29387     ECKWTP           Net 30    08/25/2016    180.00
Total TRAVIS COUNTY WCID # 17                                                                                180.00
TRIPLE C ELECTRIC
                                            Invoice       557240    PO20591          Net 30    02/06/2016    300.00
                                            Invoice       557685    PO21342          Net 30    03/23/2016    300.00
Total TRIPLE C ELECTRIC                                                                                      600.00
Tru Position Automation
                                            Invoice       29330     9486             CIA       07/25/2016    229.99
Total Tru Position Automation                                                                                229.99
Tuscarawas Metro Sewer District
                                            Invoice       557800    87209-30         CIA       03/11/2016    127.94
Total Tuscarawas Metro Sewer District                                                                        127.94



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TYONEK MANUFACTURING GROUP
                                           Invoice      557388    TMG-155808         Net 30   02/19/2016   2,158.03
                                           Invoice      558031                       Net 30   05/22/2016     82.09
Total TYONEK MANUFACTURING GROUP                                                                           2,240.12
U.S. WATER CORP.
                                           Invoice      557396    bohls dialer       Net 30   02/19/2016    294.69
Total U.S. WATER CORP.                                                                                      294.69
UNITED ELECTRICAL SUPPLY
                                           Invoice      36690     verbal on phone    Net 30   03/10/2017    167.30
Total UNITED ELECTRICAL SUPPLY                                                                              167.30
USSI - UNITED SERVICE SOURCE, I
                                           Invoice      555140    po138266           Net 30   07/22/2015    190.50
                                           Invoice      555190    po138266           Net 30   07/24/2015    447.00
Total USSI - UNITED SERVICE SOURCE, I                                                                       637.50
VIKING FENCE CO.
                                           Invoice      553820    146752             Net 30   04/03/2015     95.26
Total VIKING FENCE CO.                                                                                       95.26
WANSLEY REFRIGERATION SERVICE
                                           Payment      29767                                                 -9.00
                                           Invoice      556068    090803             Net 30   10/08/2015     32.99
                                           Invoice      556675    FERRIS             Net 30   12/03/2015     78.00
                                           Invoice      557000    120902             Net 30   01/08/2016     24.99
                                           Invoice      557164    122902             Net 30   01/28/2016     35.99
                                           Invoice      29459     072903             Net 30   08/28/2016     88.00
Total WANSLEY REFRIGERATION SERVICE                                                                         250.97
WATTINGER SERVICE CO INC
                                           Payment                                                           -41.35
                                           Invoice      36884     8813               Net 30   03/10/2017     35.99
                                           Invoice      36888     8816               Net 30   03/10/2017     48.00
Total WATTINGER SERVICE CO INC                                                                               42.64
WELL CHECKED
                                           Invoice      29231     ASCENT SOLAR 1     Net 30   08/19/2016   5,604.12
Total WELL CHECKED                                                                                         5,604.12



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WESLEYAN HOMES INC. (NON-PROFIT)
                                         Invoice      557518    AL                 Net 30   03/03/2016        20.00
Total WESLEYAN HOMES INC. (NON-PROFIT)                                                                        20.00
WHOLESALE ELECTRIC
                                         Invoice      33921     P1658014           Net 30   01/18/2017        46.21
Total WHOLESALE ELECTRIC                                                                                      46.21
WHOLESALE ELECTRIC SUPPLY
                                         Invoice      28573     BS-0075-1656741    Net 30   07/08/2016      264.18
Total WHOLESALE ELECTRIC SUPPLY                                                                             264.18
WIDESPREAD ELECTRICAL SALES
                                         Invoice      30511     34135              Net 30   10/01/2016      158.00
                                         Invoice      31587     34483              Net 30   10/16/2016     1,020.00
                                         Invoice      32447     34855              Net 30   11/24/2016     1,272.00
                                         Invoice      33598     36927              Net 30   01/13/2017      700.00
                                         Invoice      34609     37451              Net 30   02/03/2017      104.00
Total WIDESPREAD ELECTRICAL SALES                                                                          3,254.00
WILLE ELECTRIC
                                         Invoice      28686     P1181152           CIA      06/17/2016        29.99
Total WILLE ELECTRIC                                                                                          29.99
William Church
                                         Invoice      29104     50236              CIA      05/18/2016        12.99
Total William Church                                                                                          12.99
willie benton
                                         Invoice      557657    183942             CIA      02/17/2016      208.93
Total willie benton                                                                                         208.93
Z-NON ELECTRIC INC.
                                         Invoice      557918    25411              Due      04/15/2016         9.99
                                         Invoice      36917     25545              Net 30   03/10/2017      153.80
Total Z-NON ELECTRIC INC.                                                                                   163.79
                                                                                                         117,560.60




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